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..,. JUDIC§AL PANE`L ON

_ _ \ _`>._ MULT|D[ST.CHCT L!TlGAT|ON
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BEFURE THE JUDICIAL PANEL ONIWULTIDISTRICT LITIGA TION

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IN RE VIoXX PROD UCTS LIABILITY LIT/GA rrorv \§§E'
_ JUL 2 5 2005
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wU[~JS. nk;,;,.;“&:bm
COND!TloNAL TRANSFER oRDER (CTo-M) ' '°FT-Jack.o,,

On Februar_v 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 542 additional actions have been transferred to the liastern District of

loouisiana_ With the consent ofthat cour't, all such actions have been assigned to the Honorable Eldon E.
Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 ofthe Rules of Procedure ofthe iludieial Panel on Multidistrict Litigation, 199
F.R.D. 425, 435-36 (2()01), these actions are transferred under 28 U.S.C. § 1407 to the Eastem Distriet
ofLouisiana for the reasons stated in the order off`ehruary 16, 2005, 360 F.Supp.Qd 1352 (J.P.M.L.
2005), and, with the consent ofthatcourt1 assigned to the l'lonorable Eldon E. Fallon.

1`his order does not become effective until it is filed in the Office ofthe Clei'l< ofthe United States
District Cotirt for the Eastern District ol`Louisiana. The transmittal ofthis order to said Clerk shall he
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk
ofthe l’anel within this fifteen (15) day period, the stay will be continued until further order ofthe Panel.

FOR THE PANEL:

Michael J. Beck

 

 

Inasrnuch as no ebjectioi'\ is CLERK'S OFFlCCéCrk Ofthe Panel

pending at this time, the

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Case 1:05-cv-01120-.]DT-STA Document 16 Filed 07/25/05 Page 2 of 6 Page|D 9

UNITED STATES DISTRICT COURT

EASTERN DISTRICT oF LoUiSiANA
OFFICE oF THE CLERK

LoRRETTA G. WHYTE

500 PoYDRAs ST., SuiTE C-l$]
CLERK

NEW ORLEANS, LA 70130
Juiy zi, 2005

Robert DiTrolio, Clerk

 

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United States District Court U" §
Wcstern District of Tennessee :'C__ 9
111 S. Highland m 933
Jackson, TN 38301 "" l S>/
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3 l
ln Re: MDL 1657 Vioxx Products Liability Litigation L (3) ,;:- g
\.o .

Dear Mr. DiTrolio:

Enclosed are certified copies of a transfer order received from the Multidistriet Litigation Panel
in Washirigton, D.C. It instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet

and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor
court.

Due to the high volume of cases involved in this litigation please provide

paper copies of the above documents instead of Simply referring to your website.
Your prompt attention in this matter is greatly appreciated

Should you have any questions regarding this rcquest, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,

 

Enclosures
cc: Judicial Panel on Multidistrict Litigation

05-[1320

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Your Case Nos. Case Title Our Case Nos.

    
   

. . . ., . 05-2963 L (3)
1:05-1120 Evelyn S. Ellison v. Merck & Co., Inc. 05-2964 L (3 )-
1105-1121 1 eresa A. r)avis v. Sarah Capocaccia, et al 05-2965 L (3)

     

  

 

Case 1:05-cv-01120-.]DT-STA Document 16 Filed 07/25/05 Page 4 of 6 Page|D 11

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
Thomas M. Gould 111 South Highland Ave., Room 262
Clerk of Court Jackson, Tennessee 38301

731-421-9200
731-421-9210 Fax

July 27, 2005

United States District Court
Eastern District of Lousiana

500 Poydras St., Room C»151
New Orleans, LA 70130

RE: Evelyn S. Ellison vs. Merck & Co., Inc., Et al.,
05-2964 L (3) -Your Case No.
05-1 120 T/An -Our Case No.

Dear Clerk:

Pursuant to the Conditional Transfer Order (CTO-14) the above referenced case has been transferred to the
United States District Court for the Eastern District of Louisiana . Please find enclosed a certified copy of
the Notice of Removal, Lower Court Cornplaint, Docket Sheet, MDL Transfer Order, and a copy of the
transfer letter to the transferor court. 1 am also enclosing a copy of this cover letter and requesting that you
acknowledge receipt and return it to our office in the provided envelope Thank you for your attention in
this matter.

Thornas M. Gould, Clerk

BY: COAeo/vd/wt,%»ot

Deputy Clerk

ENCLOSURES

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 1:05-CV-01120 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

.1 udy Barnhill

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Case 1:05-cv-01120-.]DT-STA Document 16 Filed 07/25/05 Page 6 of 6 Page|D 13

Honorable .1 ames Todd
US DISTRICT COURT

